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                       UNITED STATES DISTRICT COURT
                            DISTRICT OF MAINE


UNITED STATES OF AMERICA               )
                                       )
             v.                        )
                                       )     1:12-cr-00020-JAW
CALEB JEWETT                           )
     and                               )
PATRICIA SMITH                         )


           ORDER ON MOTION FOR JOINT SENTENCING HEARING

      With some hesitation, the Court denies the Government’s motion for a joint

sentencing hearing because one of the Defendants has objected.

I.    STATEMENT OF FACTS

      A.     The Defendants’       Charge,    Guilty   Pleas,    and   Prosecution
             Versions

      On February 16, 2012, in a single count indictment, a federal grand jury

charged Caleb Jewett and Patricia Smith with knowingly and intentionally

importing into the United States fifty grams or more of methamphetamine in

violation of 21 U.S.C. § 952(a). Indictment (ECF No. 18). On May 29, 2012, Mr.

Jewett pleaded guilty, Minute Entry (ECF No. 50), and on June 20, 2012, Ms. Smith

followed suit.    Minute Entry (ECF No. 54).    Each Defendant entered into plea

agreements with substantially identical provisions.     Agreement to Plead Guilty

(ECF No. 48); Agreement to Plead Guilty (ECF No. 52). The Prosecution Versions of

the offenses are consistent. Gov’t’s Version of the Offense (ECF No. 47); Prosecution

Version of the Offense (ECF No. 51). In effect, Mr. Jewett and Ms. Smith each
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admitted that they obtained the methamphetamine in Canada, that Mr. Jewett hid

the drugs in the rear door panel of a motor vehicle, that Ms. Smith knew the drugs

were hidden there, that Ms. Smith drove the motor vehicle to the Bridgewater Port

of Entry, and that Mr. Jewett was a passenger in the vehicle. Id.

      B.      The Joint Sentencing Hearing Issue

      On September 11, 2012, concerned that there might be inconsistencies

between Mr. Jewett and Ms. Smith as to their respective roles in the offense, the

Government moved for a joint sentencing hearing. Mot. to Continue Sentencing

Hr’g and Req. for a Jt. Sentencing Hr’g (ECF No. 62) (Gov’t’s Mot.). Ms. Smith has

not objected to a joint sentencing hearing, but Mr. Jewett has. Def. Jewett’s Opp’n

to Gov’t’s Mot. to Continue Sentencing Hr’g and Req. for a Jt. Sentencing Hr’g (ECF

No. 64) (Def.’s Opp’n).

      Mr. Jewett says that there is no authority for the Court to hold a joint

sentencing hearing over his objection and in his view to do so would compromise the

Court’s obligation to make an individualized sentencing judgment.          Id. at 1.

Emphasizing that “no two defendants wend the same path to the defendant’s table,”

Mr. Jewett fears that “a joint sentencing hearing creates the danger that individual

sentencing characteristics will become lost or offset.” Id. at 2. Mr. Jewett argues

that his mitigating factors—low intelligence and attention deficit issues—are “so

strikingly different from Defendant Patricia Smith’s mitigating factors.” Id.

      Mr. Jewett rejects the Government’s concern that if there are separate

sentencing hearings, the two Defendants may present inconsistent versions of the



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events in this case, minimizing each’s own involvement and blaming the other, a

likelihood that would be reduced in a joint hearing. Id. at 3. He says that the

Government could call him to testify as a witness at Ms. Smith’s sentencing hearing

but asserts there would be no need for Ms. Smith to testify at his sentencing

hearing since he has admitted all the relevant facts in the Presentence Report. Id.

II.   DISCUSSION

      Whether to proceed jointly or separately at sentencing is a matter for the

Court’s discretion. See United States v. Catalan-Roman, 376 F. Supp. 2d 96, 104-05

(D.P.R. 2005) (noting that some courts facing the issue have decided to proceed

jointly while others have decided to hold sequential penalty hearings, and collecting

cases). Mr. Jewett is correct that he has the right to an “individualized analysis” at

sentencing, but that right is not threatened by a joint sentencing hearing, absent

unusual circumstances. See, e.g., Glock v. Singletary, 84 F.3d 385, 386 (11th Cir.

1996) (finding no merit in a capital defendant’s contention that the trial court’s

refusal to sever his sentencing proceeding from his co-defendant’s deprived him of

individualized sentencing); United States v. Rivera, 363 F. Supp. 2d 814, 817 (E.D.

Va. 2005) (“The defendants [in a capital case] have an Eighth Amendment right to

an ‘individualized determination’ of their penalty phase sentence, however, this

important right does not compel an individual penalty phase hearing”); United

States v. Solomon, 02: 05cr385, 2007 U.S. Dist. LEXIS 30511, *22 (W.D. Pa. April

25, 2007) (“The care which courts afford to protect a capital defendant’s

constitutional right to an individualized determination does not inevitably translate



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to automatic severance during capital sentencing proceedings”). These cited cases

involved capital charges, where procedural safeguards are of the utmost importance

and Eighth Amendment protections strongest.

      The main danger of separately-scheduled sentencing hearings in a multi-

defendant case is that the earlier-sentenced defendants may successfully plead for

leniency based on the supposed enhanced culpability of yet-to-be-sentenced

defendants. However, when the Court later faces those defendants, it may discover

that its leniency was misplaced because the earlier-sentenced defendants were

actually more culpable.    See Catalan-Roman, 376 F. Supp. 2d at 106 (“[b]lame-

shifting is one of the many concerns of joint proceedings”). Although this risk is

lessened by the common denominator of the prosecutor, who presumably is aware of

the respective roles of each defendant, it is still more difficult for one defendant to

point an accusatory finger at another if the accused is in the courtroom. With this

said, there may be good reasons not to hold a joint sentencing hearing in a

particular case, for example, where one defendant is fearful of retribution from

another, or “[w]hen there is a real risk that one co-defendant will become the other’s

prosecutor.” Catalan-Roman, 376 F. Supp. 2d at 105.

      Here, Mr. Jewett’s primary argument is that “[a] joint sentencing creates the

danger that individual characteristics will become lost or offset,” see Def.’s Opp’n at

2, but the Court is confident that it could make individualized determinations for

each of the two Defendants at a joint sentencing hearing. The Court is ultimately

going to be required to impose individualized sentences on Ms. Smith and Mr.



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Jewett and, absent unusual circumstances, it would not seem to matter for that

purpose whether the sentencing hearings are held at the same time, back to back,

the same week, or the same month. The Court does not know quite what to make of

Mr. Jewett’s stated concern that his low intelligence and attention deficit issues

could adversely affect his sentence if he is sentenced jointly with Ms. Smith.

Finally, it remains to be seen whether Mr. Jewett’s assertions about the availability

of one Defendant’s testimony at the sentencing of the other Defendant are correct.

A Defendant does not relinquish his or her Fifth Amendment privilege at a

sentencing hearing and either Ms. Smith or Mr. Jewett could elect to remain silent

at the other’s sentencing even if called to testify.

      Mr. Jewett has not filed a sentencing memorandum, but Ms. Smith has.

Def.’s Mem. Regarding Sentencing (ECF No. 65). In her memorandum, Ms. Smith

raises questions about drug quantity. Id. at 1-4. Apparently, Mr. Jewett and Ms.

Smith differ as to the number of times Ms. Smith and Mr. Jewett acting together

brought pills over the border, but she concedes that the discrepancy does not affect

the guideline calculation. Id. Mr. Jewett has apparently not objected to the higher

drug quantity. Id.      It is difficult to understand how a joint sentencing hearing

would affect Mr. Jewett’s position on drug quantity as he has not objected to the

Probation Office’s calculation.

        In her memorandum, Ms. Smith also seeks a role reduction, asserting that

“she became involved in the scheme to import the methamphetamine pills with Mr.

Jewett for the simple reason that she was Mr. Jewett’s girlfriend.” Id. at 4. She



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says she had no financial stake in the transaction, was not going to receive a cut of

the drugs, did not actually hide the drugs in the car, did not know where in the

vehicle the drugs were hidden, and was not going to be involved in the sale of the

drugs once they crossed the border. Id. at 4-5. In short, Ms. Smith substantially

blames Mr. Jewett for her involvement in this crime.        Based on her minimal

participation, she seeks to have her guideline range dropped from 46 to 57 months

to 18 to 24 months. Id. at 5.

      Ms. Smith’s argument poses the precise problem that a joint sentencing

hearing would help eliminate. If the Court sentences Ms. Smith first, is convinced

during her hearing that she was a minor player in the drug smuggling scheme, and

grants her a significantly reduced sentence based on the evidence and argument at

her sentencing hearing, the obverse conclusion is that Mr. Jewett is the more

culpable Defendant: that he manipulated his girlfriend to become involved in drug

trafficking and deserves a harsher penalty. Moreover, Mr. Jewett now must be

aware that just as Ms. Smith is seeking to minimize her role, she is casting blame

on him for a more significant role in the offense, and by demanding a separate

hearing, Mr. Jewett is electing not to be present when Ms. Smith articulates her

accusation.

      However, against Ms. Smith’s implication that Mr. Jewett was the more

culpable of the two, there is an undercurrent that suggests that the relative

culpability was at least shared between Mr. Jewett and Ms. Smith. Each of them

was severely addicted to drugs at the time of the crime; there is an age difference



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between Mr. Jewett, who was twenty, and Ms. Smith, who was twenty-four; and

Mr. Jewett says that he suffers from low intelligence and an attention deficit issue.

With this backdrop, to the extent that a joint sentencing hearing would assist either

Defendant, it would appear to assist Mr. Jewett at least as much as Ms. Smith and

would be a better way to arrive at the truth about each Defendant’s relative role in

this crime.

        Ultimately, however, the Court wishes to avoid giving the impression to Mr.

Jewett, however unreasonable, that he would be disadvantaged by the Court’s

scheduling decision. Furthermore, Mr. Jewett’s defense counsel may well be aware

of matters that the Court is not, and that would justify his demand for separate

sentencing.      Finally, there is no suggestion from Ms. Smith that separate

sentencing hearings would affect her sentencing positions and no suggestion from

the Government that separate hearings would affect the parties’ substantive rights.

In an excess of caution, therefore, the Court will not schedule a joint hearing in this

case.

        The Court ORDERS that Patricia Smith be scheduled for sentencing first and

that Caleb Jewett be scheduled for sentencing at a separate hearing as soon as

practicable after Ms. Smith’s sentencing hearing.

III.    CONCLUSION

        The Court DENIES the Government’s Motion for a Joint Sentencing Hearing

(ECF No. 62).1 The Court ORDERS that Patricia Smith’s sentencing hearing be


1      The Government’s September 11, 2012, motion made two requests: (1) for a continuance of
Mr. Jewett’s then-scheduled sentencing hearing and (2) for a joint sentencing hearing. Gov’t’s Mot.

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scheduled first and that Caleb Jewett’s sentencing hearing be scheduled as soon

thereafter as practicable.

       SO ORDERED.

                                    /s/ John A. Woodcock, Jr.
                                    JOHN A. WOODCOCK, JR.
                                    CHIEF UNITED STATES DISTRICT JUDGE


Dated this 24th day of October, 2012




at 1-2. On September 13, 2012, the Court granted the request for a continuance. Order (ECF No.
63). This Order addresses solely the remaining question: whether the rescheduled sentencing
hearings should be joint or separate.

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